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                                                                      Wednesday, 22 July, 2020 10:49:32 AM
                                                                             Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                   PEORIA DIVISION

TRAVIS CAMPBELL,                                      )
    Plaintiff,                                        )
                                                      )
       v.                                             )             Case No. 1:17-cv-01227-JBM
                                                      )
MICHAEL P. MELVIN et al.,                             )
    Defendants.                                       )

                              SUMMARY JUDGMENT ORDER

JOE BILLY MCDADE, United States District Judge:

       Plaintiff pro se Travis Campbell, who is imprisoned at Menard Correctional Center, filed

an amended complaint under 42 U.S.C. § 1983. The constitutional violations alleged therein

occurred during Plaintiff’s incarceration at Pontiac Correctional Center (“Pontiac”) and are

asserted against the following Defendants: Christopher Brubaker, Adrian Corley, Joshua Davis,

Anton Frazier, and Susan Prentice.

       Before the Court is a motion for summary judgment [50] filed by Defendants, who claim

that Plaintiff did not properly exhaust his administrative remedies before filing his lawsuit. The

parties have filed their respective response and reply briefs [54, 56]. After reviewing the parties’

submissions, the Court grants Defendants’ motion for summary judgment.

                             I. THE APPLICABLE STANDARDS

                                     A. Summary Judgment

       “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). A movant may demonstrate the absence of a material dispute through specific cites

to admissible evidence or by showing that the nonmovant “cannot produce admissible evidence

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to support the [material] fact.” Fed. R. Civ. P. 56(c)(1). “If the moving party has properly

supported his motion, the burden shifts to the non-moving party to come forward with specific

facts showing that there is a genuine issue for trial.” Spierer v. Rossman, 798 F.3d 502, 507 (7th

Cir. 2015).

       The nonmovant may not rest on his or her allegations in the complaint, but instead, must

point to admissible evidence in the record to show that a genuine dispute exists. Id. “Conclusory

allegations, unsupported by specific facts will not suffice.” Harvey v. Town of Merrillville, 649

F.3d 526, 529 (7th Cir. 2011). “A dispute is ‘genuine’ if the evidence is such that a reasonable

jury could return a verdict for the non[-]moving party.” Zaya v. Sood, 836 F.3d 800, 804 (7th

Cir. 2016) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). In making that

decision, the Court construes all facts and reasonable inference drawn therefrom in the light most

favorable to the nonmovant. Ogden v. Atterholt, 606 F.3d 355, 358 (7th Cir. 2010).

                     B. The Process to Exhaust Administrative Remedies

       Because Defendants base their motion for summary judgment on Plaintiff’s alleged

failure to exhaust his administrative remedies, that procedure is summarized as follows.

       The Illinois Administrative Code (“Code”) outlines the process for resolving grievances

filed by inmates within the Illinois Department of Corrections (“IDOC”). See 20 Ill. Admin.

Code § 504.800 et seq. (2017), as promulgated in 41 Ill. Reg. 3908-14 (Mar. 31, 2017), effective

April 1, 2017. Section 504.840, which governs “Emergency Procedures,” provides that “an

offender may request a grievance be handled on an emergency basis” by forwarding it directly to

the Chief Administrative Officer [(“CAO”)].” Id. § 504.840. “If the [CAO] determines that the

grievance is not an emergency, the offender shall be notified in writing that he or she may submit

the grievance by using the standard grievance process. Id. § 504.840(c).



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        An inmate begins the standard process by filing a written grievance addressed to the

inmate’s institutional counselor within sixty days “after the discovery of the incident, occurrence,

or problem that gives rise to the grievance.” Id. § 504.810(a). The counselor returns the

grievance to the inmate with a response. (20-1: p. 2:7.) If the inmate believes his issue remains

unresolved, he may submit the grievance to the designated grievance officer. (Id. p. 2:8.) “The

grievance officer shall consider the grievance and report his or her findings and recommendation

in writing to the Chief Administrative Officer,” who is typically the warden of the facility. Id. §

504.830(e).

        The warden then reviews the grievance officer’s findings and recommendation and

decides the grievance. Id. The inmate may appeal the warden’s decision to the IDOC director. Id.

§ 504.850. The Administrative Review Board (“ARB”), which acts as the director’s designee,

reviews the inmate’s appeal and submits its findings and recommendations to the director, who

then makes a final determination. Id.

                                         II. BACKGROUND

        Plaintiff admits that on May 5, 2017, he threatened harm to a corrections officer if she did

not return his property to its original location following her search of his cell. As a result,

Plaintiff was shackled, placed in a medical holding room, and issued a disciplinary ticket for

intimidation, threats, and insolence. Plaintiff claimed that Defendant Prentice told him that she

would have his “head split” because he threatened one of her officers. Prentice left, but a few

minutes later, Defendants Brubaker, Corley, Davis, and Frazier arrived and “stomped” on

Plaintiff’s ribs, back, and knees; spit in Plaintiff’s face; and use a racist term to describe Plaintiff.

Plaintiff lost consciousness, but when he awoke, Defendants had Plaintiff’s standing and were

bending his wrists backward.



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       Seventeen days later, on May 22, 2017, Plaintiff filed his initial complaint in this Court

regarding the events mentioned. The Court dismissed Plaintiff's complaint, concluding that

Plaintiff’s allegations failed to state a plausible claim for relief. In November 2017, Plaintiff filed

a motion for leave to file an amended complaint. After screening Plaintiff’s amended complaint

as required by 28 U.S.C. § 1915A, the Court determined that Plaintiff had adequately alleged

that Defendants Brubaker, Corley, Davis, Frazier, and Prentice subjected Plaintiff to an

unconstitutional use of force in violation of his Eighth Amendment rights. (ECF 13: p. 2.)

                                          III. ANALYSIS

                     A. The Exhaustion of Administrative Remedies Standard

       Section 1997e(a) of the Prison Litigation Reform Act (“PLRA”) provides the following

guidance regarding the applicability of administrative remedies:

               No action shall be brought with respect to prison conditions under
               section 1983 of this title, or any other Federal law, by a prisoner
               confined in any jail, prison, or other correctional facility until such
               administrative remedies as are available are exhausted.

42 U.S.C. § 1997e(a). “[T]he PLRA’s exhaustion requirement applies to all inmate suits about

prison life ….” Porter v. Nussle, 534 U.S. 516, 532 (2002).

       “Exhaustion of administrative remedies serves two main purposes.” Woodford v. Ngo,

548 U.S. 81, 89 (2006). First, it provides an agency the “opportunity to correct its own mistakes

with respect to the programs it administers before it is haled into federal court and it discourages

disregard of the agency’s procedures.” Id. Second, “exhaustion promotes efficiency” as claims

can generally “be resolved much more quickly and economically in proceedings before an

agency than in litigation in federal court.” Id.

       The Seventh Circuit has taken a strict compliance approach to exhaustion, which requires

a prisoner to pursue all available administrative remedies and comply with the prison’s

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procedural rules and deadlines. Pozo v. McCaughtry, 286 F.3d 1022, 1025 (7th Cir. 2002). “To

exhaust remedies, a prisoner must file complaints and appeals in the place, and at the time, the

prison’s administrative rules require.” Id. If an inmate fails to follow the grievance procedure

rules, her claims will not be exhausted but instead, forfeited, and she will be barred from filing

suit in federal Court even if administrative remedies are for practical purposes not available due

to her procedural default. Id. “Proper exhaustion demands compliance with an agency’s

deadlines and other critical procedural rules because no adjudicative system can function without

imposing some orderly structure on the course of its proceedings.” Woodford, 548 U.S. at 90-91.

Failure to exhaust is an affirmative defense for which the defendants carry the burden of proof.

Hernandez v. Dart, 814 F.3d 836, 840 (7th Cir. 2016).

                    B. Defendants’ Failure-to-Exhaust Affirmative Defense

       Defendants contend that they are entitled to summary judgment on Plaintiff’s excessive

force claim because no evidence exists that Plaintiff exhausted his administrative remedies. In

support of their contention, Defendants append the declaration of Sharon Simpson, who has been

a grievance officer at Pontiac for over a decade. Therein, Simpson avers that her records do not

show that Plaintiff filed a grievance concerning an incident on May 5, 2017. (50-1: p. 2:11.)

Defendants also append the declaration of Patricia Sneed, the ARB Chairperson, who affirms

that between May 2017 and March 2019, Plaintiff did not submit a grievance appeal to the ARB.

(50-2: p. 1:5.) Defendants also note that Plaintiff filed his initial complaint in this Court on May

22, 2017, which was only seventeen days after the alleged use of excessive force.

       Plaintiff's only claim relevant to the issue of exhaustion in his one-page response is his

assertion that he filed a grievance on May 14, 2017, but he did not receive a response from the

counselor, grievance officer, warden, or the ARB. Defendants reply that Plaintiff's statement is



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conclusory and lacks evidentiary support. Defendants also note that even if Plaintiff did file a

grievance on May 14, 2017, that filing shows that Plaintiff did not allow enough time for Pontiac

to respond given the deadlines provided in the Code. See 20 Ill. Admin. Code § 504.830(e)

(allowing a grievance officer two months after receipt of a plaintiff’s grievance to investigate and

deliver written findings to the CAO); see also Id. § 504.850 (allowing the ARB up to six months

to respond after receipt of a grievance appeal).

        The PLRA “makes exhaustion a ‘precondition to suit’ and requires dismissal if the

prisoner failed to satisfy that condition.” Barnes v. Briley, 420 F.3d 673, 678 (7th Cir. 2005)

(quoting Perez v. Wis. Dep’t of Corr., 182 F.3d 532, 535 (7th Cir. 1999)); see also Cannon v.

Washington, 418 F.3d 714, 719 (7th Cir. 2005) (“Permitting a prisoner to sue first and then ask

the prison to address issues that are now the subject of pending litigation defeats the purpose of

the PLRA’s exhaustion requirement.”).

        The Court concludes that Defendants have satisfied their burden by providing admissible

evidence that demonstrates the absence of a genuine dispute. Defendants also effectively negate

Plaintiff's attempt to create a genuine dispute by claiming that he filed a grievance the week

before he filed his complaint. Plaintiff’s unsupported claim that he filed a grievance eight days

before he filed his complaint is not only insufficient to create a genuine dispute on the issue of

exhaustion but also shows that he could not have fully exhausted his administrative remedies

given the timelines provided in the Code for official responses. Accordingly, the Court grants

Defendants’ motion for summary judgment and dismisses Plaintiff’s complaint without

prejudice. See Walker v. Thompson, 288 F.3d 1005, 1009 (7th Cir. 2002) (“Dismissal for failure

to exhaust is without prejudice and so does not bar the reinstatement of the suit unless it is too

late to exhaust . . . .”).



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IT IS THEREFORE ORDERED:

   1) The Court GRANTS Defendants’ motion for summary judgment on the issue of
      exhaustion [50] and DISMISSES Plaintiff's complaint without prejudice. The Court
      directs the Clerk of the Court to enter judgment in favor of Defendants and against
      Plaintiff. The case is terminated. All deadlines and internal settings are vacated. All
      pending motions not addressed in this Order [56, 58, 59] are denied as moot.
      Plaintiff remains responsible for the $350 filing fee.

   2) If Plaintiff wishes to appeal this judgment, he must file a notice of appeal with this
      Court within 30 days of the entry of judgment. Fed. R. App. P. 4(a)(4). A motion for
      leave to appeal in forma pauperis MUST identify the issues the Plaintiff will present
      in his appeal to assist the Court in determining whether the appeal is taken in good
      faith. See Fed. R. App. P. 24(a)(1)(c); see also Celske v Edwards, 164 F.3d 396, 398
      (7th Cir. 1999) (an appellant should be allowed to submit a statement of his grounds
      for appealing so that the district judge “can make a reasonable assessment of the
      issue of good faith.”); Walker v O’Brien, 216 F.3d 626, 632 (7th Cir. 2000) (providing
      that a good-faith appeal is an appeal that “a reasonable person could suppose…has
      some merit” from a legal perspective). If Plaintiff does choose to appeal, she will be
      liable for the $505.00 appellate filing fee regardless of the outcome of the appeal.

Entered July 22, 2020.




                                     s/ Joe Billy MsDade
                         _________________________________________
                                   JOE BILLY MCDADE
                             UNITED STATES DISTRICT JUDGE




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